    Case 6:21-cv-00162-ADA-JCM Document 127-2 Filed 06/01/21 Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION
Jennilyn Salinas, et al.,                §
                                         §
                  Plaintiffs,            §
                                         §
vs.                                      §     NO. 6:21-CV-162
                                         §
Nancy Pelosi, et al.,                    §
                                         §
                  Defendants.            §


DECLARATION OF EMILY R. BRAILEY IN SUPPORT OF DEFENDANTS’ MOTION
                 TO SET ASIDE ENTRY OF DEFAULT


       I, Emily R. Brailey, hereby declare as follows, pursuant to 28 U.S.C. § 1746:

       1.      I am over 18 years of age and am competent to make this declaration.

       2.      I am an associate with the law firm of Perkins Coie LLP, located at 700 Thirteenth

Street, NW, Suite 800, Washington, D.C. 20005. I submit this declaration to provide the Court true

and correct copies of certain documents submitted in support of Defendants DSCC and DCCC’s

Motion to Set Aside Entry of Default.

       3.      Attached as Exhibit A is a true and correct copy of a tracking receipt from the

United States Postal Service for package number 70200640000202252820. This package number

corresponds to the same tracking information provided in Plaintiffs’ purported proof of service,

ECF No. 105 at 6.

       4.      Attached as Exhibit B is a true and correct copy of a tracking receipt from the

United States Postal Service for package number 70200640000202252837. This package number

corresponds to the same tracking information provided in Plaintiffs’ purported proof of service,

ECF No. 105 at 8.

       I declare under penalty of perjury that the foregoing is true and correct.
   Case 6:21-cv-00162-ADA-JCM Document 127-2 Filed 06/01/21 Page 2 of 10




Executed on June 1, 2021.                  ___/s/ Emily R. Brailey_______________

                                           Emily R. Brailey
                                           EBrailey@perkinscoie.com
                                           Perkins Coie LLP
                                           700 Thirteenth Street, N.W., Suite 800
                                           Washington, D.C. 20005-3960




                                    -2-
Case 6:21-cv-00162-ADA-JCM Document 127-2 Filed 06/01/21 Page 3 of 10




                   Exhibit A
5/29/2021       Case 6:21-cv-00162-ADA-JCM Document     127-2
                                           USPS.com® - USPS       Filed
                                                            Tracking®    06/01/21 Page 4 of 10
                                                                      Results




   USPS Tracking
                                           ®                                                                       FAQs   




                                                Track Another Package                  +




                                                                                                                 Remove   
   Tracking Number: 70200640000202252820

   Your item has been delivered and is available at a PO Box at 10:13 am on April 30, 2021 in
   DALLAS, TX 75202.




     Delivered, PO Box




                                                                                                                          Feedback
   April 30, 2021 at 10:13 am
   DALLAS, TX 75202


   Get Updates        




                                                                                                                    
       Text & Email Updates


                                                                                                                    
       Return Receipt Electronic


                                                                                                                    
       Tracking History


       April 30, 2021, 10:13 am
       Delivered, PO Box
       DALLAS, TX 75202
       Your item has been delivered and is available at a PO Box at 10:13 am on April 30, 2021 in DALLAS, TX
       75202.



       April 30, 2021, 9:17 am
       Arrived at Post Office
       DALLAS, TX 75201

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70200640000202252820%2C%2C                  1/3
5/29/2021       Case 6:21-cv-00162-ADA-JCM Document     127-2
                                           USPS.com® - USPS       Filed
                                                            Tracking®    06/01/21 Page 5 of 10
                                                                      Results



       April 29, 2021, 6:09 pm
       Available for Pickup
       DALLAS, TX 75201



       April 29, 2021, 6:10 am
       Out for Delivery
       DALLAS, TX 75201



       April 29, 2021, 1:53 am
       Arrived at USPS Facility
       DALLAS, TX 75201



       April 29, 2021, 1:41 am
       Departed USPS Regional Facility
       DALLAS TX DISTRIBUTION CENTER



       April 28, 2021, 8:07 am




                                                                                                                     Feedback
       Arrived at USPS Regional Facility
       DALLAS TX DISTRIBUTION CENTER



       April 28, 2021, 4:07 am
       Departed USPS Regional Facility
       AUSTIN TX DISTRIBUTION CENTER



       April 27, 2021, 6:40 pm
       Arrived at USPS Regional Origin Facility
       AUSTIN TX DISTRIBUTION CENTER



       April 27, 2021, 2:19 pm
       USPS in possession of item
       BUDA, TX 78610




                                                                                                                 
       Product Information



                                                             See Less      


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70200640000202252820%2C%2C             2/3
5/29/2021       Case 6:21-cv-00162-ADA-JCM Document     127-2
                                           USPS.com® - USPS       Filed
                                                            Tracking®    06/01/21 Page 6 of 10
                                                                      Results




                                Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


                                                                 FAQs




                                                                                                                 Feedback




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70200640000202252820%2C%2C         3/3
Case 6:21-cv-00162-ADA-JCM Document 127-2 Filed 06/01/21 Page 7 of 10




                   Exhibit B
5/29/2021       Case 6:21-cv-00162-ADA-JCM Document     127-2
                                           USPS.com® - USPS       Filed
                                                            Tracking®    06/01/21 Page 8 of 10
                                                                      Results




   USPS Tracking
                                            ®                                                    FAQs   




                                                  Track Another Package          +




                                                                                             Remove     
   Tracking Number: 70200640000202252837

   Your item was delivered at 1:26 pm on May 27, 2021 in KYLE, TX 78640.




     Delivered




                                                                                                        Feedback
   May 27, 2021 at 1:26 pm
   KYLE, TX 78640


   Get Updates         




                                                                                                  
       Text & Email Updates


                                                                                                  
       Return Receipt Electronic


                                                                                                  
       Tracking History


       May 27, 2021, 1:26 pm
       Delivered
       KYLE, TX 78640
       Your item was delivered at 1:26 pm on May 27, 2021 in KYLE, TX 78640.



       May 26, 2021, 9:38 am
       Available for Pickup
       KYLE, TX 78640




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70200640000202252837                                1/3
5/29/2021       Case 6:21-cv-00162-ADA-JCM Document     127-2
                                           USPS.com® - USPS       Filed
                                                            Tracking®    06/01/21 Page 9 of 10
                                                                      Results

       May 26, 2021, 12:57 am
       Departed USPS Regional Origin Facility
       AUSTIN TX DISTRIBUTION CENTER



       May 25, 2021, 9:06 am
       Arrived at USPS Regional Facility
       AUSTIN TX DISTRIBUTION CENTER



       May 25, 2021, 4:52 am
       Departed USPS Facility
       IRVING, TX 75059



       May 25, 2021, 3:29 am
       Arrived at USPS Facility
       IRVING, TX 75059



       May 25, 2021, 2:45 am
       Departed USPS Regional Facility




                                                                                                 Feedback
       DALLAS TX DISTRIBUTION CENTER



       May 24, 2021, 4:56 pm
       Arrived at USPS Regional Destination Facility
       DALLAS TX DISTRIBUTION CENTER



       May 18, 2021, 12:02 pm
       Addressee Unknown
       DALLAS, TX 75201



       May 15, 2021, 9:53 am
       No Such Number
       DALLAS, TX 75201



       April 30, 2021, 10:13 am
       Delivered, PO Box
       DALLAS, TX 75202



       April 29, 2021, 6:10 am
       Distribution to PO Box in Progress
       DALLAS, TX 75201

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70200640000202252837                         2/3
5/29/2021      Case 6:21-cv-00162-ADA-JCM Document    127-2
                                          USPS.com® - USPS      FiledResults
                                                           Tracking®   06/01/21 Page 10 of 10

       April 29, 2021, 1:53 am
       Arrived at USPS Facility
       DALLAS, TX 75201



       April 28, 2021, 8:07 am
       Arrived at USPS Regional Facility
       DALLAS TX DISTRIBUTION CENTER



       April 28, 2021, 4:07 am
       Departed USPS Regional Facility
       AUSTIN TX DISTRIBUTION CENTER



       April 27, 2021, 6:40 pm
       Arrived at USPS Regional Origin Facility
       AUSTIN TX DISTRIBUTION CENTER



       April 27, 2021, 2:42 pm




                                                                                                    Feedback
       USPS in possession of item
       BUDA, TX 78610




                                                                                                
       Product Information



                                                               See Less      




                                 Can’t find what you’re looking for?
                          Go to our FAQs section to find answers to your tracking questions.


                                                                   FAQs




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70200640000202252837                            3/3
